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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   ANDRÉ M. ESPINOSA
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   (916) 554-2700
     (916) 554-2900 FAX
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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        ) CASE NO. 2:07-CR-00314 KJM
                                                      )
12               Plaintiff,                           )
                                                      ) ORDER TERMINATING PRETRIAL
13        v.                                          ) RELEASE
                                                      )
14   PETRA PRECIADO MORALES,                          )
                                                      )
15               Defendants.                          )
                                                      )
16                                                    )
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18          The parties appeared before the Court on Wednesday, October 22, 2014, for a status conference
19   in this matter, case number 2:07-CR-00314 LKK. At that time, the Court granted the parties’ request to
20   set the matter for a further status conference on December 3, 2014, as to defendants Jose Luis Morales,
21   Juan Morales, Enrique Morales, Teresa Maria Morales and Petra Preciado Morales.
22          Additionally, during the October 22, 2014 status conference, counsel for Petra Preciado Morales,
23   Donald Dorfman, Esq., made an oral motion to terminate the pretrial supervision of Petra Preciado
24   Morales, which the United States did not oppose. After consultation with a Pre-Trial Services Program
25   Development Specialist familiar with Petra Preciado Morales’s performance during the period of her
26   supervision, the parties agree that Petra Preciado Morales has complied with the conditions of her
27   pretrial release since she was released from custody on or about August 8, 2007. The parties further
28   agree that the United States shall seek dismissal of the charges currently pending against Petra Preciado
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 1   Morales upon the resolution of charges against her co-defendants, including Jose Luis Morales, Juan
 2   Morales, Enrique Morales, Teresa Maria Morales. Therefore, in light of all of the relevant facts and
 3   circumstances in this matter, the parties respectfully request that the Court order the prior conditions of
 4   release applicable to Petra Preciado Morales, only, be terminated and that Petra Preciado Morales be
 5   ordered released from supervision.
 6          ACCORDINGLY, the Court finds that Petra Preciado Morales has complied with the conditions
 7   of her pretrial release since she was released from custody on or about August 8, 2007; and that the
 8   United States has agreed to seek dismissal of the charges currently pending against Petra Preciado
 9   Morales upon the resolution of charges against her co-defendants, including Jose Luis Morales, Juan
10   Morales, Enrique Morales, Teresa Maria Morales; and for good cause shown, it is hereby,
11          ORDERED, that the prior conditions of release with which Petra Preciado Morales was ordered
12   to comply shall be and are hereby, TERMINATED, and it is further,
13          ORDERED that Petra Preciado Morales shall be and hereby is, RELEASED from pretrial
14   supervision.
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16              IT IS SO ORDERED.
17   Dated: November 3, 2014
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                                                     UNITED STATES DISTRICT JUDGE
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